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C|_I:Wl", 113 D!ST. CT.

UN|TED STATES OF AMER|CA, W{;._ ()i: ml mEMPi-iis

Plaintiff,

VS.
CR. NO. 04-20241-5
JAMES SCRUGGS, RANELLE SCHRUGGS,

Defendants.

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

Thls cause came on for a report date on l\/lay 31 , 2005. At that time counsel forthe

defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a eport

date of Thursdav. June 23. 2005. at 2.'00 p.m., in Courtroom 1 11th F|oor of the
Federal Bui|ding, l\/|emphis, TN.

 

The period from June 17, 2005 through July 15, 2005 is excludable under 18

U. S. C. § 3161 (h)(B)(B)( (iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need fora eedy tria|.

|T |S SO ORDERED this ne, 2005.

@N|EL BREEN
UN| UED STATES D|STR| T JUDGE

this docl..ment entered on the docket sheet in compliance
'-"*h H.i|e 55 and/or 32ib) FFiCrP on

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UNITED sTATE D"ISIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:04-CR-20241 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

